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                                                                                               CL
                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

____________________________________
                                    :
UNITED STATES OF AMERICA,           :
                                    :
                  Plaintiff ,       :
                                    :                Crim. A. No. 90-0304 (SRC)
v.                                  :
                                    :                 ORDER
FAHIM MUHAMMED,                     :
                                    :
                  Defendant.        :
____________________________________:


Chesler, U.S.D.J.

       This matter comes before the Court on the following two motions filed by pro se

Defendant Fahim Muhammed: (i) “to amend judgment, pursuant to Rule 59(e) [of the] Federal

Rules of Civil Procedure of Opinion & Order Denying Movant’s Motion for Reduction [o]f

Imprisonment under 18 U.S.C. § 3582(c)(2)” [docket item 27]; and (ii) “for correction of record

and/or judgment arising from oversight, pursuant to Rule 36 [of the] Federal Rules of Criminal

Procedure,” [docket item 23]; and the Court having considered the parties’ written submissions

in support of and in opposition to the motions; and for the reasons expressed in the Opinion filed

herewith; and for good cause shown,

       IT IS on this 26th day of August 2008,

       ORDERED that Defendant’s motion to amend judgment pursuant to Rule 59 of the

Federal Rules of Civil Procedure is denied [docket item 27]; and it is further

       ORDERED that Defendant’s motion for correction of the record pursuant to Rule 36 of

the Federal Rules of Criminal Procedure is granted to the extent that the statement in
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the May 12, 2008 Opinion & Order of this Court that “the sentencing judge acknowledged that

application of the amended guidelines would violate the ex post facto clause of the United States

Constitution,” is hereby stricken [docket item 23]; and it is further

       ORDERED that Defendant’s motion for correction of the record pursuant to Rule 36 of

the Federal Rules of Criminal Procedure is in all other respects denied [docket item 23].

                                                          s/ Stanley R. Chesler
                                                      STANLEY R. CHESLER
                                                      United States District Judge
